Case 13-42297        Doc 24     Filed 02/02/16     Entered 02/02/16 16:35:03          Desc         Page 1
                                                  of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 13 B 42297
         Nando T Fitzpatrick

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 10/29/2013.

         2) The plan was confirmed on 01/22/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Dismissed on 12/02/2015.

         6) Number of months from filing to last payment: 14.

         7) Number of months case was pending: 27.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 13-42297              Doc 24           Filed 02/02/16    Entered 02/02/16 16:35:03                 Desc         Page 2
                                                             of 3



 Receipts:

           Total paid by or on behalf of the debtor                       $4,322.80
           Less amount refunded to debtor                                     $0.00

 NET RECEIPTS:                                                                                                $4,322.80


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                           $3,845.00
     Court Costs                                                                         $0.00
     Trustee Expenses & Compensation                                                   $184.31
     Other                                                                               $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                            $4,029.31

 Attorney fees paid and disclosed by debtor:                            $500.00


 Scheduled Creditors:
 Creditor                                                 Claim         Claim            Claim        Principal      Int.
 Name                                           Class   Scheduled      Asserted         Allowed         Paid         Paid
 Asset Acceptance                           Unsecured           0.00        180.74           180.74           0.00       0.00
 Cavalry Investments LLC                    Unsecured            NA         309.05           309.05           0.00       0.00
 Cavalry Investments LLC                    Unsecured            NA         117.30           117.30           0.00       0.00
 Cavalry Portfolio Services LLC             Unsecured           0.00        779.79           779.79           0.00       0.00
 Cavalry Portfolio Services LLC             Unsecured           0.00      1,111.98         1,111.98           0.00       0.00
 City of Chicago Department of Revenue      Unsecured     11,500.00     13,148.80        13,148.80            0.00       0.00
 Credit Management Lp                       Unsecured         705.00           NA               NA            0.00       0.00
 Debt Recovery Solutions                    Unsecured         237.00        237.04           237.04           0.00       0.00
 Enhancrcvrco                               Unsecured         308.00           NA               NA            0.00       0.00
 Harvard Collection                         Unsecured         538.00           NA               NA            0.00       0.00
 Illinois Department Of Healthcare And Fa   Priority       2,100.00       2,017.02         2,017.02        186.13        0.00
 Internal Revenue Service                   Priority       1,200.00       1,163.45         1,163.45        107.36        0.00
 Internal Revenue Service                   Unsecured           0.00         19.57            19.57           0.00       0.00
 Intgrtysoltn                               Unsecured         621.00           NA               NA            0.00       0.00
 Nrthside Fcu                               Unsecured         140.00           NA               NA            0.00       0.00
 Quantum3 Group                             Unsecured            NA       1,274.20         1,274.20           0.00       0.00
 Resurgent Capital Services                 Unsecured           0.00        352.06           352.06           0.00       0.00
 Resurgent Capital Services                 Unsecured           0.00        395.63           395.63           0.00       0.00
 Resurgent Capital Services                 Unsecured           0.00        310.23           310.23           0.00       0.00




UST Form 101-13-FR-S (9/1/2009)
Case 13-42297        Doc 24      Filed 02/02/16     Entered 02/02/16 16:35:03             Desc     Page 3
                                                   of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00             $0.00
       Mortgage Arrearage                                      $0.00              $0.00             $0.00
       Debt Secured by Vehicle                                 $0.00              $0.00             $0.00
       All Other Secured                                       $0.00              $0.00             $0.00
 TOTAL SECURED:                                                $0.00              $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                        $2,017.02            $186.13              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                                $1,163.45            $107.36              $0.00
 TOTAL PRIORITY:                                          $3,180.47            $293.49              $0.00

 GENERAL UNSECURED PAYMENTS:                             $18,236.39               $0.00             $0.00


 Disbursements:

         Expenses of Administration                             $4,029.31
         Disbursements to Creditors                               $293.49

 TOTAL DISBURSEMENTS :                                                                       $4,322.80


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 02/02/2016                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
